                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

 UNITED STATES OF AMERICA                            )
                                                     )       Case No. 1:13-cr-59
 vs.                                                 )
                                                     )       JUDGE COLLIER
 CAREY LYNN DAUGHERTY                                )



                                MEMORANDUM AND ORDER

         CAREY LYNN DAUGHERTY (“Supervised Releasee”) appeared for an initial
 appearance before the undersigned on September 9, 2013, in accordance with Rule 32.1 of the
 Federal Rules of Criminal Procedure on the Petition for Warrant for Offender Under Supervision
 (“Petition”). Those present for the hearing included:

               (1) An Assistant United States Attorney for the Government.
               (2) The Supervised Releasee.
               (3) Attorney Anthony Martinez for defendant.

        After being sworn in due form of law, the Supervised Releasee was informed or
 reminded of her privilege against self-incrimination accorded her under the 5th Amendment to
 the United States Constitution.

         It was determined the Supervised Releasee wished to be represented by an attorney and
 she qualified for the appointment of an attorney to represent her at government expense.
 Federal Defender Services of Eastern Tennessee, Inc. was APPOINTED to represent the
 defendant. It was determined the Supervised Releasee had been provided with a copy of the
 Petition and the Warrant for Arrest and had the opportunity of reviewing those documents with
 her attorney. It was also determined she was capable of being able to read and understand the
 copy of the aforesaid documents she had been provided

         The Supervised Releasee waived her right to a preliminary hearing but requested a
 detention hearing.

         The Government called USPO Danny Haimelin and moved that the Supervised Releasee
 be detained pending the revocation hearing.

                                             Findings

        (1)     Based USPO Haimelin’s testimony and the Supervised Releasee’s waiver
        of preliminary hearing, the undersigned finds there is probable cause to believe the

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       Supervised Releasee has committed violations of her conditions of supervised
       release as alleged or set forth in the Petition.

       (2)     The Supervised Releasee has not carried her burden under Rule 32.1(a)(6)
       of the Federal Rules of Criminal Procedure, that if released on bail she will not flee
       or will not pose a danger to the community.

                                           Conclusions

       It is ORDERED:

       (1) The motion of the Government that the Supervised Releasee be DETAINED
       WITHOUT BAIL pending her revocation hearing before Judge Collier is
       GRANTED.

       (2) The U.S. Marshal shall transport the Supervised Releasee to a revocation
       hearing before Judge Collier on Thursday, January 9, 2014, at 9:00 am.

       ENTER.

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                                              UNITED STATES MAGISTRATE JUDGE




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